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              Exhibit A
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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

ARTHUR GREENSTEIN                               §
Plaintiff,                                      §
                                                §
                                                       CIVIL ACTION NO. _______________
vs.                                             §
                                                §
                                                       JURY
THE TRAVELERS HOME AND                          §
MARINE INSURANCE COMPANY,                       §
Defendant.                                      §


                          INDEX OF STATE COURT MATERIALS

          Date Filed
No.       or Entered   Document
 A-1           N/A     Docket Sheet

 A-2      01/13/2015   Plaintiff’s Original Petition

 A-3      01/13/2015   Civil Case Information Sheet

 A-4      01/13/2015   Request for issuance of citation

 A-5      01/13/2015   Jury Demand

 A-6      02/10/2015   File copy of citation

 A-7      03/02/2015   Defendant The Travelers Home and Marine Insurance Company’s
                       Original Answer


4843-7554-5378, v. 1




INDEX OF STATE COURT MATERIALS
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         Exhibit A-1
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Skip to Main Content Logout My Account Search Menu New Civil District Search Refine Search
                                                                                             Location : All District Civil Courts Images Help
Back
                                                    REGISTER OF ACTIONS
                                                         CASE NO. DC-15-00383

ARTHUR GREENSTEIN vs. THE TRAVELERS HOME AND MARINE                   §                      Case Type: CNTR CNSMR COM DEBT
INSURANCE COMPANY                                                     §                      Date Filed: 01/13/2015
                                                                      §                       Location: 191st District Court
                                                                      §
                                                                      §


                                                            PARTY INFORMATION

                                                                                                                Lead Attorneys
DEFENDANT THE TRAVELERS HOME AND MARINE                                                                         WILLIAM LANCE LEWIS
          INSURANCE COMPANY                                                                                      Retained
                                                                                                                214-871-2100(W)


PLAINTIFF    GREENSTEIN, ARTHUR                                                                                 M SHANE THOMPSON
                                                                                                                 Retained
                                                                                                                713-664-3600(W)


                                                           EVENTS & ORDERS OF THE COURT

            OTHER EVENTS AND HEARINGS
01/13/2015 NEW CASE FILED (OCA) - CIVIL
01/13/2015 ORIGINAL PETITION
             PETITION
01/13/2015 JURY DEMAND
01/13/2015 ISSUE CITATION
02/10/2015 CITATION
             CU-ESERVE-ENV#4086502
              THE TRAVELERS HOME AND MARINE INSURANCE
                                                                  Unserved
              COMPANY
02/10/2015 CITATION ISSUED
             DC-15-00383
03/02/2015 ORIGINAL ANSWER - GENERAL DENIAL
             Defendant The Travelers Home and Marine Insurance Company's Original Answer


                                                           FINANCIAL INFORMATION



            PLAINTIFF GREENSTEIN, ARTHUR
            Total Financial Assessment                                                                                                  315.00
            Total Payments and Credits                                                                                                  315.00
            Balance Due as of 03/02/2015                                                                                                  0.00

01/14/2015 Transaction Assessment                                                                                                       315.00
01/14/2015 CREDIT CARD -
                                  Receipt # 2105-2015-DCLK                           GREENSTEIN, ARTHUR                               (315.00)
           TEXFILE (DC)




                                                                                                                                     3/2/2015 2:08 PM
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         Exhibit A-2
                                                                                                                             FILED
1 CIT-ESERVE                                                                                                     DALLAS COUNTY
                                                                                                              1/13/2015 1:48:05 PM
                  Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15               Page 6 of 38 PageID       10        FELICIA PITRE
karen@vosslawfirm.com                                                                                              DISTRICT CLERK

                                                                                                         Christi Underwood
                                                  DC-15-00383
                                         CAUSE NO. _____________________


            ARTHUR GREENSTEIN,                            §       IN THE DISTRICT COURT
                Plaintiff,                                §
                                                          §
                                                          §
            vs.                                           §       DALLAS COUNTY, TEXAS
                                                          §
            THE TRAVELERS HOME AND                        §
            MARINE INSURANCE COMPANY,                     §
                 Defendant.                               §       ____ JUDICIAL DISTRICT

                                       PLAINTIFF’S ORIGINAL PETITION

            TO THE HONORABLE JUDGE OF SAID COURT:

                     COMES NOW Arthur Greenstein (hereinafter “Plaintiff”), and complains of The

            Travelers Home and Marine Insurance Company (hereinafter “Travelers”). In support of his

            claims and causes of action, Plaintiff would respectfully show the Court as follows:

                                                  DISCOVERY LEVEL

                     1.    Plaintiff intends for discovery to be conducted at Level 2, pursuant to Rule 190 of

            the Texas Rules of Civil Procedure.

                                             JURISDICTION AND VENUE

                     2.    This Court has jurisdiction to hear Plaintiff’s claims under Texas common law and

            Texas statutory law. Inarguably, the amount in controversy exceeds the minimum jurisdictional

            limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

            this suit occurred within the city of Dallas, in Dallas County, Texas.

                                                         PARTIES

                     3.    Plaintiff is an individual whose residence is located in Dallas, Dallas County,

            Texas.

            _____________________________________________________________________________________________
            PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                       Page 1
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          4.       Defendant Travelers is a foreign corporation, duly registered with the Texas

Department of Insurance to do business in Texas, which may be served with process by serving

this Original Petition and a copy of the citation on its Registered Agent, Corporation Service

Company, at its registered address, 211 East 7th Street, Suite 620, Austin, Texas

78701-3218.

                                            BACKGROUND

          5.       This matter revolves largely around a first party insurance dispute regarding the

extent of damages and amount of loss suffered to the Plaintiff’s Property, which is located at

5630 Del Roy Drive, Dallas, TX 75230, (the “Property”). In addition to seeking economic and

penalty based damages from Travelers, Plaintiff also seeks compensation from Travelers for

damages caused by improperly investigating the extensive losses associated with this case.

          6.       Plaintiff owns the Property.

          7.       Prior to the occurrence in question, Plaintiff purchased a residential insurance

policy from Travelers to cover the Property at issue in this case for a loss due to storm-related

events.        Plaintiff’s Property suffered storm-related damage. Through his residential policy,

986063724-633-1, Plaintiff was objectively insured for the subject loss by Defendant.

          8.       On or around December 19, 2012, the Property suffered incredible damage due to

storm related conditions.

          9.       In the aftermath, Plaintiff relied on Travelers to help begin the rebuilding process.

By and through his residential policy, Plaintiff was objectively insured for the subject losses in

this matter.




_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                       Page 2
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        10. Pursuant to his obligation as a policyholder, Plaintiff made complete payment of all

residential insurance premiums in a timely fashion. Moreover, his residential policy covered

Plaintiff during the time period in question.

        11.     Despite Plaintiff’s efforts, Travelers continually failed and refused to pay Plaintiff

in accordance with its promises under the Policy.

        12.    Moreover, Travelers has failed to make any reasonable attempt to settle Plaintiff’s

claims in a fair manner, although its liability to the Plaintiff under the policy is without dispute.

        13.     In the months following, Plaintiff provided information to Travelers, as well as

provided opportunities for Travelers to inspect the Property.          However, Travelers failed to

conduct a fair investigation into the damage to the Property.         Moreover, Travelers failed to

properly inspect the Property and its related damages, failed to properly request information,

failed to properly investigate the claim, failed to timely evaluate the claim, failed to timely

estimate the claim, and failed to timely and properly report and make recommendations in regard

to Plaintiff’s claims.

        14.     Despite Travelers’s improprieties, Plaintiff continued to provide information

regarding the losses and the related claim to Travelers.           Further, Plaintiff made inquiries

regarding the status of the losses, and payments. Regardless, Travelers failed and refused to

respond to the inquiries, and failed to properly adjust the claim and the losses. As a result, to this

date, Plaintiff has not received proper payment for his claim, even though notification was

provided.

        15.     Travelers has failed to explain the reasons for failing to offer adequate

compensation for the damage to the Property. Travelers has furthermore failed to offer Plaintiff

adequate compensation without any explanation why full payment was not being made.
_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                       Page 3
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Travelers did not communicate that any future settlements or payments would be forthcoming to

pay the entire losses covered under the policy.

        16.    Travelers has further failed to affirm or deny coverage within a reasonable time.

Plaintiff also did not receive timely indication of acceptance or rejection regarding the full and

entire claim in writing from Travelers in a timely manner.

        17.    Travelers has, to date, refused to fully compensate Plaintiff under the terms of the

policy for which Plaintiff paid, even though it was Travelers that failed to conduct a reasonable

investigation. Ultimately, Travelers performed a result-oriented investigation of Plaintiff’s claim

that resulted in an unfair, biased and inequitable evaluation of Plaintiff’s losses.

        18.    Travelers has failed to meet its obligations under the Texas Insurance Code

regarding timely acknowledging Plaintiff’s claim, beginning an investigation of Plaintiff’s claim,

and requesting all information reasonably necessary to investigate Plaintiff’s claims within the

time period mandated by statute.

        19.    As a result of the above issues, Plaintiff did not receive the coverage for which he

had originally contracted with Travelers. Unfortunately, Plaintiff has, therefore, been forced to

file this suit in order to recover damages arising from the above conduct, as well as overall from

the unfair refusal to pay insurance benefits.

        20. In addition, Travelers has failed to place adequate and proper coverage for Plaintiff

causing Plaintiff to suffer further damages. As indicated below, Plaintiff seeks relief under the

common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas Insurance

Code.

                                  CONDITIONS PRECEDENT

        21.    All conditions precedent to recovery by Plaintiff have been met or have occurred.
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                                           AGENCY

       22.     All acts by Travelers were undertaken and completed by its officers, agents,

servants, employees, and/or representatives. Such were either done with the full authorization or

ratification of Travelers and/or were completed in its normal and routine course and scope of

employment with Travelers.

                              CLAIMS AGAINST DEFENDANT

       23.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

                                            A.
                                        NEGLIGENCE

       24.     Travelers had and owed a legal duty to Plaintiff to properly adjust the structural

and property damage and other insurance losses associated with the Property. Travelers breached

this duty in a number of ways, including but not limited to the following:

               a.     Travelers was to exercise due care in adjusting and paying policy proceeds
                      regarding Plaintiff’s Property loss;

               b.     Travelers had a duty to competently and completely handle and pay all
                      damages associated with Plaintiff’s Property; and/or

               c.     Travelers failed to properly complete all adjusting activities associated
                      with Plaintiff.

       25.     Travelers’s acts, omissions, and/or breaches did great damage to Plaintiff, and

were a proximate cause of Plaintiff’s damages.

                                          B.
                                  BREACH OF CONTRACT

       26.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

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       27.     According to the policy that Plaintiff purchased, Travelers had the absolute duty

to investigate Plaintiff’s damages, and to pay Plaintiff’s policy benefits for the claims made due

to the extensive storm-related damages.

       28.     As a result of the storm-related event, Plaintiff suffered extreme external and

internal damages.

       29.     Despite objective evidence of such damages, Travelers has breached its

contractual obligations under the subject insurance policy by failing to pay Plaintiff benefits

relating to the cost to properly repair Plaintiff’s Property, as well as for related losses. As a result

of this breach, Plaintiff has suffered actual and consequential damages.

                                        C.
                       VIOLATIONS OF TEXAS DECEPTIVE TRADE
                         PRACTICES ACT AND TIE-IN-STATUTES

       30.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

       31.     Travelers’s collective actions constitute violations of the DTPA, including but not

limited to, Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas Business

& Commerce Code. Travelers collectively engaged in false, misleading, or deceptive acts or

practices that included, but were not limited to:

               a.      Representing that an agreement confers or involves rights, remedies, or
                       obligations which it does not have or involve, or which are prohibited by
                       law;

               b.      Misrepresenting the authority of a salesman, representative, or agent to
                       negotiate the final terms of a consumer transaction;

               c.      Failing to disclose information concerning goods or services which were
                       known at the time of the transaction, and the failure to disclose such
                       information was intended to induce the consumer into a transaction into

_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                       Page 6
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                      which the consumer would not have entered had such information been
                      disclosed;

               d.     Using or employing an act or practice in violation of the Texas Insurance
                      Code;

               e.     Unreasonably delaying the investigation, adjustment and resolution of
                      Plaintiff’s claim;

               f.     Failure to properly investigate Plaintiff’s claim; and/or

               g.     Hiring and relying upon a biased engineer and/or adjuster to obtain a
                      favorable, result-oriented report to assist Travelers in low-balling and/or
                      denying Plaintiff’s damage claim.

       32.    As described in this Original Petition, Travelers represented to Plaintiff that his

insurance policy and Travelers’s adjusting and investigative services had characteristics or

benefits that it actually did not have, which gives Plaintiff the right to recover under Section

17.46 (b)(5) of the DTPA.

       33.    As described in this Original Petition, Travelers represented to Plaintiff that its

insurance policy and Travelers’s adjusting and investigative services were of a particular

standard, quality, or grade when they were of another, which stands in violation of Section 17.46

(b)(7) of the DTPA.

       34.     By representing that Travelers would pay the entire amount needed by Plaintiff to

repair the damages caused by the storm-related event and then not doing so, Travelers has

violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.

       35.     Travelers has breached an express warranty that the damage caused by the storm-

related event would be covered under the subject insurance policies.          This breach entitles

Plaintiff to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.



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       36.      Travelers’s actions, as described herein, are unconscionable in that it took

advantage of Plaintiff’s lack of knowledge, ability, and experience to a grossly unfair degree.

Travelers’s unconscionable conduct gives Plaintiff the right to relief under Section 17.50(a)(3) of

the DTPA.

       37.      Travelers’s conduct, acts, omissions, and failures, as described in this Original

Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

the DTPA.

       38.      Plaintiff is a consumer, as defined under the DTPA, and relied upon these false,

misleading, or deceptive acts or practices made by Travelers to his detriment. As a direct and

proximate result of Travelers’s collective acts and conduct, Plaintiff has been damaged in an

amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiff now

sues. All of the above-described acts, omissions, and failures of Travelers are a producing cause

of Plaintiff’s damages that are described in this Original Petition.

       39.      Because Travelers’s collective actions and conduct were committed knowingly

and intentionally, Plaintiff is entitled to recover, in addition to all damages described herein,

mental anguish damages and additional penalty damages, in an amount not to exceed three times

such actual damages, for Travelers having knowingly committed its conduct. Additionally,

Plaintiff is ultimately entitled to recover damages in an amount not to exceed three times the

amount of mental anguish and actual damages due to Travelers having intentionally committed

such conduct.

       40.      As a result of Travelers’s unconscionable, misleading, and deceptive actions and

conduct, Plaintiff has been forced to retain the legal services of the undersigned attorneys to

protect and pursue these claims on his behalf. Accordingly, Plaintiff also seeks to recover his
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costs and reasonable and necessary attorneys’ fees as permitted under Section 17.50(d) of the

Texas Business & Commerce Code, as well as any other such damages to which Plaintiff may

show himself to be justly entitled at law and in equity.

                                        D.
                       VIOLATIONS OF TEXAS INSURANCE CODE

       41.     Plaintiff hereby incorporates by reference all facts and circumstances set forth

within the foregoing paragraphs.

       42.     Travelers’s actions constitute violations of the Texas Insurance Code, including

but not limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section

541.060), Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section

3(f) (codified as Section 542.058). Specifically, Travelers engaged in certain unfair or deceptive

acts or practices that include, but are not limited to the following:

               a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                       settlement of a claim with respect to which the insurer’s liability has
                       become reasonably clear;

               b.      Failing to provide promptly to a policyholder a reasonable explanation of
                       the basis in the policy, in relation to the facts or applicable law, for the
                       insurer’s denial of a claim or for the offer of a compromise settlement of a
                       claim;

               c.      Refusing to pay a claim without conducting a reasonable investigation
                       with respect to the claim;

               d.      Forcing Plaintiff to file suit to recover amounts due under the policy by
                       refusing to pay all benefits due;

               e.      Misrepresenting an insurance policy by failing to disclose any matter
                       required by law to be disclosed, including a failure to make such
                       disclosure in accordance with another provision of this code; and/or

               f.      Failing to pay a valid claim after receiving all reasonably requested and
                       required items from the claimant.

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        43.    Plaintiff is the insured or beneficiary of a claim which was apparently valid as a

result of the unauthorized acts of Travelers, and Plaintiff relied upon these unfair or deceptive

acts or practices by Travelers to his detriment. Accordingly, Travelers became the insurer of

Plaintiff.

        44.   As a direct and proximate result of Travelers’s acts and conduct, Plaintiff has been

damaged in an amount in excess of the minimum jurisdictional limits of this Court, for which he

now sues.

        45.    Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

and because Travelers’s actions and conduct were committed knowingly and intentionally,

Plaintiff is entitled to recover, in addition to all damages described herein, mental anguish

damages and additional damages in an amount not to exceed three times the amount of actual

damages, for Travelers having knowingly committed such conduct. Additionally, Plaintiff is

entitled to recover damages in an amount not to exceed three times the amount of mental and

actual damages for Travelers having intentionally committed such conduct.

        46.   As a result of Travelers’s unfair and deceptive actions and conduct, Plaintiff has

been forced to retain the legal services of the undersigned attorneys to protect and pursue these

claims on his behalf. Accordingly, Plaintiff also seeks to recover his costs and reasonable and

necessary attorneys’ fees as permitted under Section 17.50(d) of the Texas Business &

Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of the Texas

Insurance Code and any other such damages to which Plaintiff may show himself justly entitled

by law and in equity.




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                                         E.
                          BREACH OF THE COMMON-LAW DUTY
                           OF GOOD FAITH AND FAIR DEALING

       47.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       48.     By its acts, omissions, failures and conduct, Travelers has breached its common

law duty of good faith and fair dealing by denying Plaintiff’s claims or inadequately adjusting

and making an offer on Plaintiff’s claims without any reasonable basis, and by failing to conduct

a reasonable investigation to determine whether there was a reasonable basis for this denial.

       49.     Travelers has also breached this duty by unreasonably delaying payment of

Plaintiff’s entire claims and by failing to settle Plaintiff’s claims, as Travelers knew or should

have known that it was reasonably clear that Plaintiff’s storm-related claims were covered.

These acts, omissions, failures, and conduct by Travelers is a proximate cause of Plaintiff’s

damages.

                                            F.
                                BREACH OF FIDUCIARY DUTY

       50.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       51.     Travelers had a fiduciary relationship, or in the alternative, a relationship of trust

and confidence with Plaintiff. As a result, Travelers owed a duty of good faith and fair dealing to

Plaintiff. Travelers breached that fiduciary in that:

               a.       The transaction was not fair and equitable to Plaintiff;

               b.       Travelers did not make reasonable use of the confidence that Plaintiff
                        placed upon it;


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               c.       Travelers did not act in the utmost good faith and did not exercise the most
                        scrupulous honesty toward Plaintiff;

               d.       Travelers did not place the interests of Plaintiff before its own, and
                        Travelers used the advantage of its position to gain a benefit for itself, at
                        Plaintiff’s expense;

               e.       Travelers placed itself in a position where its self-interest might conflict
                        with its obligations as a fiduciary; and/or

               f.       Travelers did not fully and fairly disclose all important information to
                        Plaintiff concerning the sale of the policy.

       52.     Travelers is liable for Plaintiff’s damages for breach of fiduciary duty, as such

damages were objectively caused by Travelers’s conduct.

                                          G.
                              UNFAIR INSURANCE PRACTICES

       53.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

       54.     Plaintiff has satisfied all conditions precedent to bringing these causes of action.

By its acts, omissions, failures, and conduct, Travelers has engaged in unfair and deceptive acts

or practices in the business of insurance in violation of Chapter 541 of the Texas Insurance Code.

       55.     Such violations include, without limitation, all the conduct described in this

Original Petition, plus Travelers’s failure to properly investigate Plaintiff’s claim. Plaintiff also

includes Travelers’s unreasonable delays in the investigation, adjustment, and resolution of

Plaintiff’s claims and Travelers’s failure to pay for the proper repair of Plaintiff’s Property, as to

which Travelers’s liability had become reasonably clear.

       56.     Additional violations include Travelers’s hiring of and reliance upon biased

adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

and denying Plaintiff’s storm-related damage and related claims.           Plaintiff further includes
_____________________________________________________________________________________________
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Travelers’s failure to look for coverage and give Plaintiff the benefit of the doubt, as well as

Travelers’s misrepresentations of coverage under the subject insurance policy. Specifically,

Travelers is also guilty of the following unfair insurance practices:

               a.       Engaging in false, misleading, and deceptive acts or practices in the
                        business of insurance in this case;

               b.       Engaging in unfair claims settlement practices;

               c.       Misrepresenting to Plaintiff pertinent facts or policy provisions relating to
                        the coverage at issue;

               d.       Not attempting in good faith to effectuate a prompt, fair, and equitable
                        settlement of Plaintiffs’ claims as to which Travelers’s liability had
                        become reasonably clear;

               e.       Failing to affirm or deny coverage of Plaintiff’s claims within a reasonable
                        time and failing within a reasonable time to submit a reservation of rights
                        letter to Plaintiff;

               f.       Refusing to pay Plaintiff’s claims without conducting a reasonable
                        investigation with respect to the claims; and/or

               g.       Failing to provide promptly to a policyholder a reasonable explanation of
                        the basis in the insurance policy, in relation to the facts or applicable law,
                        for the denial of a claim or for the offer of a compromise settlement.

       57.     Travelers has also breached the Texas Insurance Code when it breached its duty of

good faith and fair dealing. Travelers’s conduct as described herein has resulted in Plaintiff’s

damages that are described in this Original Petition.

                                            H.
                                    MISREPRESENTATION

       58.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.




_____________________________________________________________________________________________
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        59.     Travelers is liable to Plaintiff under the theories of intentional misrepresentation,

or in the alternative, negligent misrepresentation. Essentially, Travelers did not inform Plaintiff

of certain exclusions in the policy. Misrepresentations were made with the intention that they

should be relied upon and acted upon by Plaintiff who relied on the misrepresentations to his

detriment. As a result, Plaintiff has suffered damages, including but not limited to loss of the

Property, loss of use of the Property, mental anguish and attorney’s fees. Travelers is liable for

these actual consequential and penalty-based damages.

                                     I.
              COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

        60.     Plaintiff hereby incorporates by reference all facts and circumstances in the

foregoing paragraphs.

        61.     Plaintiff would show that Travelers perpetrated fraud by misrepresentation (either

intentionally or negligently) by falsely representing a fact of materiality to Plaintiff, who relied

upon such representations that ultimately resulted in his injuries and damages. Alternatively,

Travelers fraudulently concealed material facts from Plaintiff, the result of which caused damage

to Plaintiff as a result of the storm-related damages.

        62.     Specifically, and as a proximate cause and result of this fraudulent concealment,

fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

consent of Plaintiff, Plaintiff has sustained damages far in excess of the minimum jurisdictional

limits of this Court.

        63.     By reason of Plaintiff’s reliance on Travelers fraudulent representations, negligent

misrepresentations and/or fraudulent concealment of material facts as described in this

complaint, Plaintiff has suffered actual damages for which he now sues.

_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                      Page 14
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         64.    Plaintiff further alleges that because Travelers knew that the misrepresentations

made to Plaintiff were false at the time they were made, such misrepresentations are fraudulent,

negligent or grossly negligent on the part of Travelers, and constitute conduct for which the law

allows the imposition of exemplary damages.

         65.    In this regard, Plaintiff will show that he has incurred significant litigation

expenses, including attorneys’ fees, in the investigation and prosecution of this action.

         66.    Accordingly, Plaintiff requests that penalty damages be awarded against Travelers

in a sum in excess of the minimum jurisdictional limits of this Court.

                                  WAIVER AND ESTOPPEL

         67.    Plaintiff hereby incorporates by reference all facts and circumstances set forth

under the foregoing paragraphs.

         68.    Travelers has waived and is estopped from asserting any defenses, conditions,

exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

to Plaintiff.

                                           DAMAGES

         69.    Travelers’s acts have been the producing and/or proximate cause of damage to

Plaintiff, and Plaintiff seeks an amount in excess of the minimum jurisdictional limits of this

Court.

         70.    More specifically, Plaintiff seeks monetary relief over $1,000,000.00

                              ADDITIONAL DAMAGES & PENALTIES

         71.    Travelers’s conduct was committed knowingly and intentionally. Accordingly,

Travelers is liable for additional damages under the DTPA, section 17.50(b) (1), as well as all



_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                      Page 15
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operative provisions of the Texas Insurance Code. Plaintiff is, thus, clearly entitled to the 18%

damages allowed by the Texas Insurance Code.

                                       ATTORNEY FEES

        72.    In addition, Plaintiff is entitled to all reasonable and necessary attorneys’ fees

pursuant to the Texas Insurance Code, DTPA, and sections 38.001-.005 of the Civil Practice and

Remedies Code.

                                        JURY DEMAND

        73.    Plaintiff demands a jury trial and tenders the appropriate fee with this Original

Petition.

                                REQUEST FOR DISCLOSURE

        74.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff requests that Travelers

disclose all information and/or material as required by Rule 194.2, paragraphs (a) through (l),

and to do so within 50 days of this request.

                               REQUEST FOR PRODUCTION

        75.    Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Requests for Production.

        1.    Please produce Travelers’s complete claim files from the home, regional, local
      offices, and third party adjusters/adjusting firms regarding the claim that is the subject of
      this matter, including copies of the file jackets, “field” files and notes, and drafts of
      documents contained in the file for the premises relating to or arising out of Plaintiff’s
      underlying claim.

        2.    Please produce the underwriting files referring or relating in any way to the policy
      at issue in this action, including the file folders in which the underwriting documents are
      kept and drafts of all documents in the file.

        3.   Please produce certified copy of the insurance policy pertaining to the claim
      involved in this suit.

_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                      Page 16
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        4.    Please produce the electronic diary, including the electronic and paper notes made
      by Travelers’s claims personnel, contractors, and third party adjusters/adjusting firms
      relating to the Plaintiff’s claims.

        5.    Please produce all emails and other forms of communication by and between all
      parties in this matter relating to the underlying event, claim or the Property, which is the
      subject of this suit.

       6.     Please produce the adjusting reports, estimates and appraisals prepared concerning
      Plaintiffs’ underlying claim.

       7.    Please produce the field notes, measurements and file maintained by the adjuster(s)
      and engineers who physically inspected the subject Property.

        8.    Please produce the emails, instant messages and internal correspondence pertaining
      to Plaintiff’s underlying claim(s).

       9.    Please produce the videotapes, photographs and recordings of Plaintiff or Plaintiff’s
      home, regardless of whether Travelers intend to offer these items into evidence at trial.

                                     INTERROGATORIES

       76.     Pursuant to the Texas Rules of Civil Procedure, Plaintiff propounds the following

Interrogatories.

       1.    Please identify any person Travelers expect to call to testify at the time of trial.

        2.   Please identify the persons involved in the investigation and handling of Plaintiff’s
      claim for insurance benefits arising from damage relating to the underlying event, claim or
      the Property, which is the subject of this suit, and include a brief description of the
      involvement of each person identified, their employer, and the date(s) of such involvement.

        3.    If Travelers or Travelers’s representatives performed any investigative steps in
      addition to what is reflected in the claims file, please generally describe those investigative
      steps conducted by Travelers or any of Travelers’s representatives with respect to the facts
      surrounding the circumstances of the subject loss. Identify the persons involved in each
      step.

       4.    Please identify by date, author, and result the estimates, appraisals, engineering,
      mold and other reports generated as a result of Travelers’s investigation.

       5.    Please state the following concerning notice of claim and timing of payment:

_____________________________________________________________________________________________
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             a.      The date and manner in which Travelers received notice of the claim;
              b.      The date and manner in which Travelers acknowledged receipt of the
                      claim;
              c.      T h e d a t e a n d m a n n e r i n w h i c h Tr a v e l e r s c o m m e n c e d
                      investigation of the claim;
              d.      The date and manner in which Travelers requested from the claimant
                      all items, statements, and forms that Travelers reasonably believed, at
                      the time, would be required from the claimant; and
              e.      The date and manner in which Travelers notified the claimant in
                      writing of the acceptance or rejection of the claim.


      6.    Please identify by date, amount and reason, the insurance proceed payments made
     by Defendant, or on Defendant’s behalf, to the Plaintiff.

       7.   Has Plaintiff’s claim for insurance benefits been rejected or denied? If so, state the
     reasons for rejecting/denying the claim.

       8.   When was the date Travelers anticipated litigation?

       9.    Have any documents (including those maintained electronically) relating to the
     investigation or handling of Plaintiff’s claim for insurance benefits been destroyed or
     disposed of? If so, please identify what, when and why the document was destroyed, and
     describe Travelers’s document retention policy.

      10. Does Travelers contend that the insured premises was damaged by storm-related
     events and/or any excluded peril? If so, state the general factual basis for this contention.

       11. Does Travelers contend that any act or omission by the Plaintiff voided, nullified,
     waived or breached the insurance policy in any way? If so, state the general factual basis
     for this contention.

      12. Does Travelers contend that the Plaintiff failed to satisfy any condition precedent or
     covenant of the policy in any way? If so, state the general factual basis for this contention.

      13. How is the performance of the adjuster(s) involved in handling Plaintiff’s claim
     evaluated? State the following:

              a.      what performance measures are used; and
              b.      describe Travelers’s bonus or incentive plan for adjusters.




_____________________________________________________________________________________________
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                                          CONCLUSION

       77.     Plaintiff prays that judgment be entered against The Travelers Home and Marine

Insurance Company, and that Plaintiff be awarded all of his actual damages, consequential

damages, prejudgment interest, additional statutory damages, post judgment interest, reasonable

and necessary attorney fees, court costs and for all such other relief, general or specific, in law or

in equity, whether pled or un-pled within this Original Petition.

                                              PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays he be awarded all such relief

to which he is due as a result of the acts of The Travelers Home and Marine Insurance Company,

and for all such other relief to which Plaintiff may be justly entitled.

                                               Respectfully submitted,

                                               THE VOSS LAW FIRM, P.C.


                                               /s/ M. Shane Thompson
                                               Scott G. Hunziker
                                               State Bar No. 24032446
                                               M. Shane Thompson
                                               State Bar No. 24003055
                                               The Voss Law Center
                                               26619 Interstate 45 South
                                               The Woodlands, Texas 77380
                                               Telephone: (713) 861-0015
                                               Facsimile: (713) 861-0021
                                               shane@vosslawfirm.com

                                               ATTORNEYS FOR PLAINTIFF




_____________________________________________________________________________________________
PLAINTIFF ARTHUR GREENSTEIN’S ORIGINAL PETITION                                      Page 19
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          Exhibit A-3
Case 3:15-cv-00699-GDC-15-00383
                      Document 1-1 Filed 03/03/15       Page 26 of 38 PageID 30

              Arthur Greenstein v. The Travelers Home and Marine Insurance Company




                                 Arthur Greenstein


                                 The Travelers Home and Marine
                                 Insurance Company
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          Exhibit A-4
  Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15                 Page 28 of 38 PageID 32


      THE VOSS                                         LAW FIRM
                                 A PROFESSIONAL CORPORATION
                                      ATTORNEYS AT LAW
                                  THE VOSS LAW CENTER
                                    26619 INTERSTATE 45
                               THE WOODLANDS, TEXAS 77380
                                 TELEPHONE (713) 861-0015
                                  FACSIMILE (713) 861-0021
                                  TOLL FREE (866) 203-5411
                                    www.VossLawFirm.com

                                         January 13, 2015

Via ProDoc E-filing
Dallas County District Clerk


       Re:     Arthur Greenstein vs. The Travelers Home and Marine Insurance Company
               -- Request for Citation

Dear Clerk:

       The Voss Law Firm has requested, via ProDoc e-filing, that a Citation be issued to The
Travelers Home and Marine Insurance Company which may be served with process on its Registered
Agent, Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas 78701-3218, in
the above-referenced cause. Please email the citation to karen@vosslawfirm.com.

       Your attention to this matter is greatly appreciated.

                                                     Very truly yours,

                                                      /s/ Karen Shadbolt

                                                      Karen Shadbolt
                                                      Legal Assistant


:ks
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          Exhibit A-5
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      THE VOSS                                         LAW FIRM
                                 A PROFESSIONAL CORPORATION
                                      ATTORNEYS AT LAW
                                  THE VOSS LAW CENTER
                                    26619 INTERSTATE 45
                               THE WOODLANDS, TEXAS 77380
                                 TELEPHONE (713) 861-0015
                                  FACSIMILE (713) 861-0021
                                  TOLL FREE (866) 203-5411
                                    www.VossLawFirm.com

                                         January 13, 2015

Via ProDoc E-filing
Dallas County District Clerk

       Re:     Arthur Greenstein v. The Travelers Home and Marine Insurance Company --
               Jury Fee for New Case Filing

Dear Clerk:

       The Voss Law Firm would like to request a Jury Fee in the above-referenced matter.

       Your attention to this matter is greatly appreciated.

                                                     Very truly yours,

                                                      /s/ Karen Shadbolt

                                                      Karen Shadbolt
                                                      Legal Assistant


:ks
Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15   Page 31 of 38 PageID 35




          Exhibit A-6
FORM NO. 353-3 - CITATION                                                                                              ESERVE
THE STATE OF TEXAS
                                                                                                                   CITATION
To:
        THE TRAVELERS HOME AND MARINE INSURANCE COMPANY
        BY SERVING ITS REIGSTERED AGENTCORPORATION SERVICE COMPANY                                                DC-15-00383
        211 E 7TH ST STE 620
        AUSTIN TX 78701-3218
                                                                                                              ARTHUR GREENSTEIN
GREETINGS:                                                                                                            vs.
You have been sued. You may employ an attorney. If you or your attorney do not file a written           THE TRAVELERS HOME AND MARINE
answer with the clerk who issued this citation by 10 o'clock a.m. of the Monday next following the                INSURANCE
expiration of twenty days after you were served this citation and petition, a default judgment may be              COMPANY
taken against you. Your answer should be addressed to the clerk of the 191st District Court at 600
Commerce Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                   ISSUED THIS
Said Plaintiff being ARTHUR GREENSTEIN                                                                       10th day of February, 2015

Filed in said Court 13th day of January, 2014 against                                                            FELICIA PITRE
                                                                                                               Clerk District Courts,
THE TRAVELERS HOME AND MARINE INSURANCE COMPANY                                                                Dallas County, Texas

For Suit, said suit being numbered DC-15-00383, the nature of which demand is as follows:
Suit on CNTR CNSMR COM DEBT etc. as shown on said petition REQUEST FOR DISCLOSURE,
                                                                                                                                           Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15




                                                                                                        By: CHRISTI UNDERWOOD, Deputy
PRODUCTION, AND INTERROGATORIES, a copy of which accompanies this citation. If this                     ________________________________
citation is not served, it shall be returned unexecuted.                                                       Attorney for Plaintiff
                                                                                                                M SHANE THOMPSON
WITNESS: FELICIA PITRE, Clerk of the District Courts of Dallas, County Texas.                              THE LAW OFFICE OF M SHANE
Given under my hand and the Seal of said Court at office this 10th day of February, 2015.                            THOMPSON
                                                                                                              3730 KIRBY DR SUITE 901
ATTEST: FELICIA PITRE, Clerk of the District Courts of Dallas, County, Texas                                    HOUSTON TX 77042
                                                                                                                    713-664-3600
                                /s/ Christi Underwood
                        By__________________________________, Deputy
                             CHRISTI UNDERWOOD
                                                                                                                                           Page 32 of 38 PageID 36
                                                                       OFFICER'S RETURN
Case No. : DC-15-00383

Court No.191st District Court

Style: ARTHUR GREENSTEIN

vs.

THE TRAVELERS HOME AND MARINE INSURANCE COMPANY



Came to hand on the ________________day of __________________, 20_________, at __________o'clock_________.M. Executed at ______________________________,

within the County of __________________________ at ____________ o'clock _______ .M. on the ________________day of_________________________________________,

20_______________, by delivering to the within named

____________________________________________________________________________________________________

____________________________________________________________________________________________________________

each, in person, a true copy of this Citation together with the accompanying copy of this pleading, having first endorsed on same date of delivery. The distance actually traveled by

me in serving such process was _________miles and my fees are as follows: To certify which witness my hand.



                                For serving Citation        $__________                    _______________________________________________
                                                                                                                                                                                        Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15




                                For mileage                  $__________                   of__________________County, ____________________

                                For Notary                   $__________                    By______________________________________Deputy

                                                               (Must be verified if served outside the State of Texas.)

Signed and sworn to by the said__________________________before me this_______day of _____________________, 20_______,

to certify which witness my hand and seal of office.


                                                                                           _____________________________________________________

                                                                                           Notary Public___________________County_________________
                                                                                                                                                                                        Page 33 of 38 PageID 37
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          Exhibit A-7
                                                                                                                          FILED
                                                                                                              DALLAS COUNTY
                                                                                                            3/2/2015 1:26:09 PM
     Case 3:15-cv-00699-G Document 1-1 Filed 03/03/15                        Page 35 of 38 PageID        39       FELICIA PITRE
                                                                                                                DISTRICT CLERK




                                            CAUSE NO. DC-15-00383

ARTHUR GREENSTEIN                                        §             IN THE DISTRICT COURT
Plaintiff,                                               §
                                                         §
V.                                                       §             191ST JUDICIAL DISTRICT
                                                         §
THE TRAVELERS HOME AND                                   §
MARINE INSURANCE COMPANY                                 §
Defendant.                                               §             DALLAS COUNTY, TEXAS

                            DEFENDANT THE TRAVELERS HOME AND MARINE
                              INSURANCE COMPANY’S ORIGINAL ANSWER

            In response to Plaintiff’s Original Petition (the “Petition”), Defendant The Travelers

Home and Marine Insurance Company (“Defendant”) files its Original Answer thereto.


                                                     I.
                                               GENERAL DENIAL

            Defendant denies all and singular the allegations contained in the Petition and demands

strict proof thereof.


                                                   II.
                                           ADDITIONAL DEFENSES

            1.          Defendant denies that all conditions precedent to Plaintiff’s claims for recovery

have occurred or been met, and they have not been waived.

            2.          Plaintiff’s claims fail, in whole or in part, because coverage is precluded to the

extent that the loss occurred outside the policy period.

            3.          Plaintiff’s claims fail, in whole or in part, because coverage is precluded to the

extent the loss or damage to the property was excluded pursuant to the Exclusions of the policy

and/or limited pursuant to the Limitations of the policy.

            4.          Plaintiff’s claims are subject to the deductible and applicable limits of the policy.


DEFENDANT’S ORIGINAL ANSWER                                                                            Page 1
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            5.          Plaintiff’s claim fail, in whole or in part, because the policy provides that there is

no coverage for loss caused directly or indirectly by:

                        11. Settling, Cracking, Bulging, Shrinkage or Expansion of Specific
                            Property.

                                 Settling, Cracking, Bulging, Shrinkage or Expansion of Specific
                                 Property means any loss arising out of, caused by, consisting of or
                                 related to settling, cracking, bulging, shrinkage, or expansion of
                                 foundations, walls, floors, ceiling, roof structures, walks, drives, curbs,
                                 fences, retaining walls or swimming pools, regardless of whether such
                                 loss ensues from any loss, including a loss involving water or water
                                 damage which is covered under this policy. However, settling,
                                 cracking, bulging, shrinkage, or expansion as a direct result of collapse
                                 of a building is covered.

            6.          Plaintiff’s claim fail, in whole or in part, because the policy provides that it does

not insure for loss caused by any of the following:

                        (a) Wear and tear, marring, deterioration;

                        (b) Mechanical breakdown, latent defect, inherent vice, or any quality in
                            property that causes it to damage or destroy itself

            7.          Plaintiff’s claim fail, in whole or in part, because the policy provides that it does

not insure for loss caused by any of the following:

                        3.          Faulty, inadequate or defective:

                                 a. Planning, zoning, development, surveying, siting;

                                 b. Design, specifications, workmanship, repair, construction, renovation,
                                    remodeling, grading, compaction;

                                 c. Materials used in repair, construction, renovation or remodeling; or

                                 d. Maintenance;

                                 of part or all of any property whether on or off the “residence premises.”

            8.          Defendant is entitled to a credit or offset for all amounts previously paid by any

other insurer, if any, including Travelers.



DEFENDANT’S ORIGINAL ANSWER                                                                                    Page 2
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            9.          Coverage is precluded to the extent Plaintiff seeks reimbursement for the

replacement cost value of property which has not been repaired or replaced and/or is not covered

under the Policy.

            10.         All or a portion of Plaintiff’s claims were caused by the negligence and/or

comparative responsibility of Plaintiff, persons acting on Plaintiff’s behalf and/or under

Plaintiff’s direction or control, and/or third parties over which Defendants had no control.

            11.         Plaintiff’s exemplary damages claims are barred in whole or in part by the Due

Process Clause and the Excessive Fines Clause of the United States Constitution, Chapter 41 of

the Texas Civil Practice & Remedies Code, or any other applicable law.

            WHEREFORE, PREMISES CONSIDERED, Defendant The Travelers Home and Marine

Insurance Company prays that Plaintiff takes nothing by this suit, and that Defendant goes hence

and recovers costs in its behalf expended.

                                                    Respectfully submitted,


                                                         /s/ Wm. Lance Lewis
                                                    WM. LANCE LEWIS
                                                    Texas Bar No. 12314560
                                                    MARCIE L. SCHOUT
                                                    Texas Bar No. 24027960
                                                    QUILLING, SELANDER, LOWNDS,
                                                       WINSLETT & MOSER, P.C.
                                                    2001 Bryan Street, Suite 1800
                                                    Dallas, Texas 75201
                                                    (214) 871-2100 (Telephone)
                                                    (214) 871-2111 (Facsimile)
                                                    llewis@qslwm.com
                                                    mschout@qslwm.com

                                                    ATTORNEYS FOR DEFENDANT
                                                    TRAVELERS HOME AND MARINE
                                                    INSURANCE COMPANY




DEFENDANT’S ORIGINAL ANSWER                                                                     Page 3
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on the 2nd day of March, 2015, a true and correct
copy of the foregoing document was served, via electronic service, in accordance with the Texas
Rules of Civil Procedure, upon Plaintiff’s counsel:

                                    Scott G. Hunziker, Esq.
                                    The Voss Law Firm, P.C.
                                    26619 Interstate 45 South
                                    The Woodlands, Texas 77380.


                                              /s/ Wm. Lance Lewis
                                           Wm. Lance Lewis/Marcie L. Schout




                                           4816-2283-3954, v. 1




DEFENDANT’S ORIGINAL ANSWER                                                             Page 4
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